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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                                CRIMINAL MINUTES – GENERAL

Case No. 2:23-cr-00047                                                 Date: December 18, 2024

Present: HONORABLE JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

Interpreter    NONE

     Kelly Davis                    NONE                               NOT PRESENT
     Deputy Clerk           Court Reporter/Recorder                 Assistant U.S. Attorney

 U.S.A. v. Defendant(s):   Present   Cust.   Bond     Attorneys for Defendant:    Present   App.    Ret.
  Thomas Vincent Girardi    NOT               X        Charles J. Snyder           No        X
                                                       Samuel Cross                No        X

PROCEEDINGS:           (IN CHAMBERS) ORDER VACATING SENTENCING HEARING
                       AND SETTING STATUS CONFERENCE

        Having reviewed the parties’ responses to this Court’s Order Requiring Briefing on
the Applicability of 18 U.S.C. § 4244 (see Docs. 431, 435, 436), the Court concludes that a
hearing pursuant to § 4244 is required to determine whether “defendant should be committed
to a suitable facility in lieu of imprisonment.” United States v. Buker, 902 F.2d 769, 770 (9th
Cir. 1990); see also United States v. Lizama, 13 F. App'x 738, 740 (9th Cir. 2001).
Accordingly, the Sentencing Hearing set for December 20, 2024 at 1:30 p.m. is vacated. In
its place, and at that same time, the Court will hold a status conference to determine an
appropriate schedule for a psychiatric or psychological examination pursuant to 18 U.S.C.
§§ 4244(b) and 4247(b), (c), and a subsequent hearing pursuant to 18 U.S.C. § 4247(d).

       Defendant is ordered to appear.

       IT IS SO ORDERED.

                                                                     Initials of Deputy Clerk: kd




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